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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                 Eastern Division

John Doe
                                  Plaintiff,
v.                                                   Case No.: 1:17−cv−06583
                                                     Honorable Robert M. Dow Jr.
Northwestern University
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 10, 2018:


         MINUTE entry before the Honorable Robert M. Dow, Jr: At the request of the
parties, the status hearing set for 1/11/2018 is cancelled and reset to 1/25/2018 at 9:00
a.m. Oral motion to extend deadlines to file responsive pleading(s) and to serve mandatory
initial discovery responses is granted. Mailed notice(cdh, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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